Case 1:19-cv-00005-WES-PAS Document 1-9 Filed 01/03/19 Page 1 of 8 Page|D #: 124

EXHIBIT H

 

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Case 1:19-cv-OOOOB-WES-PAS Document 1-9 Filed 01/03/19 Page 3 of 8 Page|D #: 126

John B. Ennis

A ttorney at Law

1200 Reservoir Avenue
Cranston, Rhode Island 02920

"(g:lt ;;‘)elr) 29‘91;’»-293.;»1; Fax (401) 679-0035
Bank of America

Attn: Notice of Error &

Request for Information

P.O. Box 942019

Simi Valley, CA 93094-2019

Clients: Dolores Cepeda
Address: 177 Dexter Street
Providence, Rl 02907

Dear Sir or Madam:

Please consider this letter to constitute a Notic-e ofError under 12 CFR Section 1024.35 of
Regulation X of the Mortgage Selvicing Act under RESPA, which Regulation became effective
on J'anuary 10, 2014. These amendments implemented the Dodd-Frank Wall Street Reform and
Consumer Protection Act provisions regarding mortgage loan servicing Under these
amendments, you must acknowledge receipt of this Notice within five (5) days thereof
(excluding legal public holidays, Saturdays and Sundays) and must advise me of your responses
to this notice within thirty (3 0) days of receipt thereof (excluding legal public holidays,
Saturdays and Sundays).

The written authority of the client to my law firm for this Request is attached hereto and
incorporated herein by this reference.

Under Section 1024.35(b) of Amended Regulation X, the term “error” means the following
categories of covered errors:

(l) Failure to accept a payment that conforms to the servicer's written requirements for the
borrower to follow in making payments

(2) Failure to apply an accepted payment to principal, interest, escrow, or other charges under the
terms ofthe mortgage loan and applicable law.

(3) Failure to credit a payment to a borrower's mortgage loan account as of the date of receipt, in
violation of the prompt crediting provisions in 12 CFR 1026.36(0)(1).

(4) F ailure to pay taxes, insurance premiums, or other charges, including charges that the
consumer has voluntarily agreed that the servicer should collect and pay, in a timely manner as

required by the escrow provisions of § 1024.34(21),_ or to refund an escrow account balance as
required by § 1024.34(b).

(5) lmposition of a fee or charge that the servicer lacks a reasonable basis to impose upon the
consumer, which includes, for example, a late fee for a payment that was not late, a charge you
imposed for a service that was not provided, a default property-management fee for consumers

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who are not in a delinquency status that would justify the charge, or a charge for force-placed
insurance provisions

(6) Failure to provide an accurate payoff balance amount upon a borrower's request pursuant to
12 CFR 1026.36(c)(3).

(7) F ailure to provide accurate information to a borrower for loss mitigation options and
foreclosure, as required by the early intervention provisions of § 1024.39.

(8) Failure to accurately and timely transfer information relating to the servicing of a borrower's
mortgage loan account to a transferee servicer.

(9) Making the frrst notice or filing required by applicable law for any judicial or non-judicial
foreclosure process in violation of the loss mitigation procedures of § 1024.41(f) or (]').

(10) Moving for foreclosure judgment or order of sale, or conducti_on a foreclosure sale in
violation of the loss mitigation procedures 'of this rule § 1024.4l(g) or (j).

(l l`) Any other error relating to the servicing of the consumer’s mortgage loan. Please note
“servicing” is defined in § 1024.2(b).

The consumer in this case believes that you committed an error by not responding to a
Request for Information within thirty business days of receipt. You received a Request for
Information on December 12, 2017 and have not provided the information requested. This
Request for Information requested the following information:

With respect to the receipt of all periodic payments of principal, interest and escrow, what
was the contractual status of the consumer’s mortgage loan when Bank of America, NA as
Creditor for Bank of America, California, N.A .transferred ownership of this mortgage
loan, including all documents on which you relied on to provide this information.

This information has not been provided to the consumer.

Please correct all of these errors and provide me with notification of the correction, the date of
the correction, and contact information for further assistance; or after conducting a reasonable
investigation and providing the borrower through my firm With a notification that includes a

statement that the servicer has determined that no error occurred, a statement of the reason or
reasons for this determination, a statement of the borrower’s right to request documents relied
upon by the servicer in reaching its determination information regarding how the borrower can
request such documents, and contact information for further assistance

Please be advised that for 60 days after receipt cfa Notice of Error, you may not furnish adverse
information to any consumer reporting agency regarding any payment that is the subject of the
Notice of Error pursuant to § 1024.35(i).

Sincerely,

tr\W-\

John B. Ennis_. Esq.

Case 1:19-c\/- OOOO5- WES- PAS Document 1- 9 Filed 01/03/19 Page 5 of 8 Page|D #: 128

John B. Ennis Esq. us munoz mo rees mo
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Bank' of America '
BOA Notice of Error Request for information
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SlMl VALLEY CA 93094»-2019

 

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John B. Ennis

Attorney at Law
1200 Reservoir Avenue
Cranston, Rhode Island 02920

Tel. (401.) 943-9230
December 7 , 2017

Bank of America

Attn: Notice of Error &
Request for lnfor.mation

P.O. Box 942019

Simi Valley, CA 93094-2019

Fax (401) .679-0035

Clients: Dolores Cepeda
Address: 177 Dexter Street, Providcnce, Rl 02907

Loan_ Number: _

Re: Request for lnformation Pursuant to Section 1024.36 of Regulation X

Dear Sir or Madam:

. This is a Request for Information relating to your servicing of the mortgage loan of the above-
j named client. All references herein are to Regulation X of the Mortgage Servicing Act as
amended by the Consume`r Financial`Protection Bureau pursuant to the Dodd Frank Act.

~ 'I`he written authority of the client to my law firm for this Request is attached hereto and
incorporated herein by this reference

Pursuant to Section 1024.36(c) of Regulation X, you must Within five (5) days (excl'uding legal

public holidays, Saturdays and Sundays) provide our office with a response to this Request
acknowledging receipt of this information request

Pursuant to Section 1024.36(<1), you must respond no later than thirty (30) days (excluding legal
public holidays Saturdays and Sundays) after you receive this request for information

Please provide the following information Within the time periods noted herein:

With respect to the receipt of all periodic payments of principal, interest and escrow, what
was the contractual status of the consumer’s mortgage loan when Bank of America, NA as
Creditor for Bank of America, California, N.A. transferred ownership of this mortgage
loan, including all documents on which you relied on to provide this information

Sinoerely, v
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John B. Ennis, Esq.

 

 

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The servicer 1.. . your mortgage payments _
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v . 15 lt you have any questions regarding your loan _o__r the servicing of your low you should always
contact the servicer first atthsj telephone number or mailing address noted betow y _ _

 

 

  
 

 

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